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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


  LUMINATI NETWORKS LTD.

                   Plaintiff,                               Case No. 2:20-CV-00188-JRG

            v.
  NETNUT LTD.
                   Defendant.



                         UNOPPOSED MOTION TO MOVE TRIAL DATE
                          AND AMEND DOCKET CONTROL ORDER

            Defendant NetNut Ltd. (“NetNut”) respectfully requests the Court to move the current trial

  date of November 1, 2021 in the Docket Control Order entered by the Court (Dkt. 41) 30 days

  after that date or the first available trial date thereafter.

            The current deadline set by the Court for jury selection in this case is November 1, 2021.

  Lead counsel for NetNut has a previously set trial date in a matter currently pending in the District

  of Delaware (Shure Incorporated and Shure Acquisition Holdings, Inc. v. ClearOne, Inc., 1:19-

  cv-01343-RGA-CJB) that conflicts with the presently set jury selection in the instant case, and

  counsel believes that the District of Delaware case is likely to proceed to trial. Counsel for

  NetNut has conferred with counsel for Plaintiff, and Plaintiff is not opposed to the relief requested

  herein.

            For all of the foregoing reasons, NetNut respectfully requests the Court to move the trial

  date 30 days or at the Court’s earliest available trial date after that time and amend the current

  Docket Control Order (Dkt. 41) as follows:
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      Current Deadline        Proposed Deadline               Event

      November 1, 2021        ______________, 2021            *Jury Selection – 9:00 a.m. in Marshall,
                                                              Texas

      October 4, 2021                                         * If a juror questionnaire is to be used, an
                                                              editable (in Microsoft Word format)
                                                              questionnaire shall be jointly submitted to the
                                                              Deputy Clerk in Charge by this date.1

      September 27, 2021                                      *Pretrial Conference – 9:00 a.m. in Marshall,
                                                              Texas before Judge Roy Payne

      September 20, 2021                                      *Notify Court of Agreements Reached
                                                              During Meet and Confer

                                                              The parties are ordered to meet and confer on
                                                              any outstanding objections or motions in
                                                              limine. The parties shall advise the Court of
                                                              any agreements reached no later than 1:00
                                                              p.m. three (3) business days before the pretrial
                                                              conference.

      September 20, 2021                                      *File Joint Pretrial Order, Joint Proposed Jury
                                                              Instructions, Joint Proposed Verdict Form,
                                                              Responses to Motions in Limine, Updated
                                                              Exhibit Lists, Updated Witness Lists, and
                                                              Updated Deposition Designations

      September 13, 2021                                      *File Notice of Request for Daily Transcript
                                                              or Real Time Reporting.

                                                              If a daily transcript or real time reporting of
                                                              court proceedings is requested for trial, the
                                                              party or parties making said request shall file
                                                              a notice with the Court and e-mail the Court
                                                              Reporter, Shawn McRoberts, at
                                                              shawn_mcroberts@txed.uscourts.gov.




  1
   The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in Advance of Voir
  Dire.
                                                          2
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   September 7, 2021                                   File Motions in Limine

                                                       The parties shall limit their motions in limine
                                                       to issues that if improperly introduced at trial
                                                       would be so prejudicial that the Court could
                                                       not alleviate the prejudice by giving
                                                       appropriate instructions to the jury.

   September 7, 2021                                   Serve Objections       to   Rebuttal    Pretrial
                                                       Disclosures

   August 30, 2021                                     Serve Objections to Pretrial Disclosures; and
                                                       Serve Rebuttal Pretrial Disclosures
  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
  shown merely by indicating that the parties agree that the deadline should be changed.

         WHEREFORE, Defendant respectfully prays that the trial date be moved 30 days after

  November 1, 2021 or to the earliest available trial date after that time. A proposed order, including

  a complete Amended Docket Control Order reflecting this change, is filed herewith.


    Dated: August 18, 2021              By:        /s/ Eric H. Findlay
                                                   Eric H. Findlay
                                                   (TX Bar No. 00789886)
                                                   Debby Gunter
                                                   (TX Bar No. 24012752)
                                                   FINDLAY CRAFT, P.C.
                                                   102 North College Avenue, Suite 900
                                                   Tyler, Texas 75702
                                                   Tel: (903) 534-1100
                                                   Fax: (903) 534-1137
                                                   Email: efindlay@findlaycraft.com
                                                   Email: dgunter@findlaycraft.com

                                                    Elliot C. Cook
                                                    FINNEGAN, HENDERSON, FARABOW,
                                                        GARRETT & DUNNER, LLP
                                                    1875 Explorer St., Suite 800
                                                    Reston, VA 20190
                                                    Tel: (571) 203-2700
                                                    Fax: (202) 408-4400
                                                    Email: elliot.cook@finnegan.com

                                                    Cory C. Bell
                                                   3
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                                                   Finnegan, Henderson, Farabow, Garrett &
                                                   Dunner, LLP
                                                   Two Seaport Lane
                                                   Boston, MA 02210-2001
                                                   Tel: (617) 646-1641
                                                   Fax: (202) 408-4400
                                                   cory.bell@finnegan.com

                                                   Amy L. Fulton
                                                   Finnegan, Henderson, Farabow, Garrett &
                                                   Dunner, LLP
                                                   901 New York Avenue, NW, Washington, DC
                                                   20001-4413
                                                   Tel: (617) 646-1641
                                                   Fax: (202) 408-4400
                                                   amy.fulton@finnegan.com

                                                   Attorneys For Defendant
                                                   NetNut Ltd.




                               CERTIFICATE OF CONFERENCE

         I hereby certify that counsel for Plaintiff met and conferred with counsel for Defendant, on

  August 17, 2021. Counsel for Plaintiff is unopposed to the relief requested in this motion.

                                               /s/ Eric H. Findlay___
                                               Eric H. Findlay




                                  CERTIFICATE OF SERVICE

         This is to certify that on August 18, 2021, all counsel of record were served with the

  foregoing document via CM-ECF and electronic mail.

                                                       /s/ Eric H. Findlay
                                                       Eric H. Findlay



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